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            EXHIBIT B
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                                                                   Page 1

 1
 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4
 5      E. JEAN CARROLL,                   )
                         Plaintiff,        )
 6                                         )
                      -against-            )20-cv-7311(LAK)
 7                                         )
        DONALD J. TRUMP, in his            )
 8      personal capacity,                 )
                         Defendant.        )
 9      _______________________            )
10
11
12                       ***CONFIDENTIAL***
13                     VIDEOTAPED DEPOSITION OF
14                         E. JEAN CARROLL
15                       New York, New York
16                     Friday, October 14, 2022
17
18
19
20      Reported By:
21      CATHI IRISH, RPR, CRR, CLVS
22
23
24
25

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 1                   CARROLL - CONFIDENTIAL
 2      sold the company?
 3           A.     No.
 4           Q.     Did you ever use your own website
 5      to meet anyone?
 6           A.     I looked.
 7           Q.     I'll just repeat my question.
 8      Did you ever use the website to meet
 9      anyone?
10           A.     I didn't see anyone --
11           Q.     You didn't --
12           A.     -- that I would have dated.
13           Q.     Did your sister ever date anybody
14      from the website?
15           A.     No.
16           Q.     What would have been your
17      criteria for someone you dated at that
18      time, and I can give you a year
19      approximately, but let's say when you sold
20      the company to The Knot?
21           A.     Here's the thing, the light had
22      gone out.     I just wasn't -- I liked
23      meeting men, I liked meeting new people
24      but my life was not there, you know?                In
25      New York there's a taxi and if the light

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                                                                  Page 41

 1                   CARROLL - CONFIDENTIAL
 2      is on it means it's available, wants to
 3      meet people.       I didn't have that.           My
 4      light was gone.
 5           Q.     But you had been looking on the
 6      website to see if there was anyone?
 7           A.     I'm always curious.
 8           Q.     Do you go out on dates?
 9                  MS. KAPLAN:     Again, let's have a
10           time frame.
11      BY MS. HABBA:
12           Q.     Same time frame, let's stick with
13      that time frame, when you sold it to The
14      Knot.
15           A.     Every once in awhile but I rarely
16      let a new acquaintance get to the point
17      where he would ask me out or I would ask
18      him out.
19           Q.     So you would go to dinners; is
20      that correct?
21           A.     Yes, as friends.
22           Q.     Let me ask you this:           Did you
23      only date men?
24           A.     Yes.
25           Q.     Never dated women?

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                                                                  Page 42

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     So who was your last significant
 4      relationship that you remember?
 5           A.     John Johnson.
 6           Q.     Who was the last man you dated
 7      that you recall?
 8           A.     I don't remember his name.
 9      That's how significant it was.
10           Q.     Do you remember approximately
11      when?
12           A.     No.   It's not for lack of trying.
13      I wanted to meet people.          I just -- the
14      music had stopped.
15           Q.     Why do you think the music had
16      stopped?
17           A.     Well, looking back on it, it may
18      have been what happened at Bergdorf's.
19           Q.     Is there anything else that you
20      think could have caused it?
21           A.     Luck, not -- not meeting people
22      that would make me want to spend time with
23      them.
24           Q.     Do you consider yourself asexual
25      at this moment?

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                                                                   Page 43

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     So a sex drive is not the issue;
 4      is that correct?
 5           A.     I had no desire for desire.                I
 6      don't have the desire to want sex.                   You
 7      have to want sex.
 8           Q.     Would you describe that as a sex
 9      drive for most people?
10           A.     Yes.
11           Q.     Have you ever tried to fix that
12      in any way, meaning getting help?
13           A.     Well, looking back perhaps maybe
14      I should have but in my own way, I started
15      a dating site and then I started another
16      dating site.       It's not that I was, you
17      know, staying in the house with a shawl
18      over my head.
19           Q.     What type of men do you like?
20                  MS. KAPLAN:     Objection to form.
21                  MS. HABBA:     Generally what type
22           of men do you like?
23                  MS. KAPLAN:     You can answer.
24                  THE WITNESS:      Men who live
25           fascinating lives, men who are kind,

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                                                                  Page 44

 1                   CARROLL - CONFIDENTIAL
 2           men who have a great sense of humor,
 3           men who are fun to be with, men who
 4           love animals, men who love their
 5           mothers, men who like women, men who
 6           like other men, not sexually but like,
 7           you know, athletic men, adventurous
 8           men.
 9      BY MS. HABBA:
10           Q.     Do you like men who are
11      successful?
12           A.     Yes.
13                  MS. KAPLAN:     Objection to form,
14           sorry.
15                  THE WITNESS:      Yes.
16      BY MS. HABBA:
17           Q.     When is the last time you went
18      out with a man -- how do I state this --
19      in hopes of becoming more than friends?
20           A.     See, that's the thing.            You put
21      your finger on it.       I've never met anybody
22      since that time where I felt that hope of
23      wow, I hope this turns into something.
24           Q.     So when is last time you had sex?
25           A.     '94 or '95.

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                                                                     Page 135

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     Do you recall what your
 4      disposition was on that phone call?
 5           A.     I was in shock and disordered.               I
 6      felt unbalanced which was a strange
 7      feeling for me.
 8           Q.     When you say unbalanced were you
 9      actually physically unbalanced?
10           A.     Yes.
11           Q.     Did you sit down at any point
12      or --
13           A.     No.
14           Q.     Did you need to get a water or do
15      anything to take care of yourself after
16      that moment?
17           A.     No, what I wanted to do, I needed
18      to talk to somebody, talk to Lisa.                  Then I
19      just wanted to go home.
20           Q.     Is that what you did?
21           A.     (Witness nodded.)
22           Q.     So did you go to a parking garage
23      to get your car or did you go straight
24      home?
25           A.     The parking garage.

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 1                     CARROLL - CONFIDENTIAL
 2           A.       Model.
 3           Q.       Thank you.
 4           A.       It was a 1959.       It was a real
 5      beauty.
 6           Q.       What color?
 7           A.       That aquamarine and white.               It
 8      was a gorgeous car.
 9           Q.       So what did you do immediately
10      following the call?
11           A.       Walked to the car.
12           Q.       Did you call anybody else?
13           A.       No.
14           Q.       After you --
15           A.       No, not particularly after that
16      call.       I knew that I wasn't going to tell
17      anybody ever again about this.                Lisa
18      shocked me in the call.
19           Q.       Why did she shock you?
20           A.       She told me I had been raped.
21           Q.       Had it occurred to you?
22           A.       No.
23           Q.       After this conversation, did you
24      discuss this incident with Ms. Birnbach
25      again?

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 1                   CARROLL - CONFIDENTIAL
 2           Q.     Have you ever questioned if what
 3      happened in that dressing room was rape?
 4                  MS. KAPLAN:     Objection to form.
 5           You can answer.
 6                  THE WITNESS:      I question whether
 7           he thought it was rape.            I never
 8           questioned what I thought.
 9      BY MS. HABBA:
10           Q.     During the two decades that
11      followed, how would you say the alleged
12      attack impacted your life?
13           A.     Well, four or five years ago I
14      would have told you it had no effect.                I'm
15      as good as new.      This is great.           I'm fine.
16      I rarely think of it but I've come to
17      understand that that rape changed my life
18      which is shocking for me to now
19      understand.
20           Q.     When you say four or five years
21      ago, do you mean when you started this
22      lawsuit?
23           A.     No, before that, before that.
24      I'm talking about the time before this.
25           Q.     Before the lawsuit.

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                                                                 Page 147

 1                   CARROLL - CONFIDENTIAL
 2      why was -- let me scratch that.
 3                  During the last two decades, have
 4      you ever interacted with the defendant
 5      again directly?
 6           A.     No.
 7           Q.     Were you aware that the
 8      president -- that the defendant was a
 9      presidential candidate prior to the 2016
10      election?
11           A.     Yes.
12           Q.     And are you aware that he ran in
13      2000 as a potential member of the reform
14      party?
15           A.     No.
16           Q.     Did you ever consider coming
17      forward with your account prior to #MeToo?
18           A.     Never.
19           Q.     Why not?
20           A.     Just -- I'm going to say
21      something that even surprises me because
22      women who have been raped are looked at in
23      this society as less, are looked at as
24      spoiled goods, are looked at as rather
25      dumb to let themselves get attacked.                I

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 1                   CARROLL - CONFIDENTIAL
 2      mean even you have to say did you scream?
 3      I mean every woman who admits to being
 4      attacked has to answer that question, why
 5      didn't you scream, why did you come
 6      forward when you did, why didn't you come
 7      forward before and so no, I didn't -- I
 8      would have been fired.
 9           Q.     How did you feel when you found
10      out that the defendant announced he was
11      running for president in 2016?
12           A.     I thought oh, boy.
13           Q.     What does oh, boy mean?
14           A.     Just almost disbelief and a
15      little bit of heartache.          I felt really
16      bad, you know.
17           Q.     Why did you feel bad?
18           A.     I didn't think he would be a good
19      candidate.
20           Q.     Why didn't you come forward with
21      your account at that time?
22           A.     I was with my mother in
23      Bloomington, Indiana.        She was on her
24      deathbed.     She was a feisty redheaded
25      Scottish woman, republican politician, so

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                                                                 Page 172

 1                   CARROLL - CONFIDENTIAL
 2      BY MS. HABBA:
 3           Q.     Were the timing of your
 4      allegations related to the former
 5      president's run for reelection?
 6           A.     No.
 7           Q.     Was it something you considered?
 8           A.     No.
 9           Q.     How did the defendant's
10      statements impact your personal life?
11           A.     Totally affected it.          I lost my
12      job.    I'm looked at as a woman who's
13      untrustworthy, looked at now as a woman
14      who can't be believed.         I'm looked at as a
15      woman who was stupid and dumb enough to
16      have happen to her what happened to her.
17           Q.     You just said that you're looked
18      at as a woman stupid enough to have had
19      happen to her what happened to her; is
20      that correct?
21           A.     (Witness nodded.)
22           Q.     How does that relate to Donald
23      Trump, the perception rather?
24           A.     He raped me and after that
25      everything I thought was quickly over and

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                                                                             Page 1
·1

·2· · · · · · · UNITED STATES DISTRICT COURT
· · · · · · FOR THE SOUTHERN DISTRICT OF NEW YORK
·3
· · · · · · · CASE No. 20 CIV. 7311 (LAK)(JLC)
·4

·5· ·E. JEAN CARROLL,

·6· · · · · · ·Plaintiff,

·7· ·-vs-

·8·   ·DONALD J. TRUMP,
· ·   ·in his personal capacity,
·9
· ·   · · · · · ·Defendant.
10·   ·______________________________/

11

12

13· · · · · · · · · · · · ·=· =            =

14· · · · · · · · · · · ·CONFIDENTIAL

15· · · · · · · · · · · · ·=· =            =

16

17· · · · ·VIDEOTAPED DEPOSITION OF DONALD J. TRUMP

18
· · · · · · · · ·Wednesday, October 19, 2022
19· · · · · · · · · 10:22 a.m. - 3:50 p.m.

20· · · · · · · · · ·The Mar-a-Lago Club
· · · · · · · · · 1100 South Ocean Boulevard
21· · · · · · · ·Palm Beach, Florida, Florida

22

23·   ·Stenographically Reported By
· ·   ·Pamela J. Pelino, RPR, FPR, CLR
24·   ·Notary Public, State of Florida
· ·   ·TSG REPORTING
25·   ·JOB NO. 218342
· ·   · · · · · · · · · · · ·-· - -


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                                                                           Page 125
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·work
     work out those problems for herself.· Now, like
·3· ·everyone
     everyone else, she gets paid by a radical,
·4· ·left-leaning
     left-leaning publisher to say bad and untrue
·5· ·things."·
     things."· Do you see that?
·6· · · · A.· · Yeah.
·7· · · · Q.· · I want to focus on the very last
·8· ·sentence,
     sentence, which says:· "Now, like everyone else, she
·9· ·gets
     gets paid by a radical, left-leaning publisher to
10· ·say
     say bad and untrue things."
11· · · · A.· · Yeah.
12· · · · Q.· · Do you know who her publisher was?
13· · · · A.· · No.· I just heard it was a publisher that
14· ·did
     did some very bad books on us.
15· · · · Q.· · I'll represent to you her publisher was
16· ·Harper
     Harper Collins.
17· · · · A.· · Yeah.· And they haven't been great.
18· · · · Q.· · Do you know who published your
19· ·son-in-law,
     son-in-law, Jared Kushner's book?
20· · · · A.· · Could be, but they published some very
21· ·bad
     bad ones too.
22· · · · Q.· · What is Truth Social?
23· · · · A.· · It's a platform that's been opened by me
24· ·as
     as an alternative to Twitter.
25· · · · Q.· · And your handle on Truth Social is


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                                                                                      YVer1f
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                                                                           Page 126
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·@realdonaldtrump?
     @realdonaldtrump?
·3· · · · A.· · I believe so, yes.
·4· · · · Q.· · And as of today, you have approximately
·5· ·four
     four million followers on Truth Social?
·6· · · · A.· · I don't know the number.· I know
·7· ·Truth
     Truth Social is doing very well.· I think it was
·8· ·number
     number one ahead of TikTok, number one ahead of
·9· ·Twitter,
     Twitter, number one ahead of Instagram and everyone
10· ·else
     else for the last number of days.· I just noticed
11· ·that.·
     that.· Somebody put it on my desk.· They have the
12· ·ratings,
     ratings, and they said Truth Social is hot.
13· · · · Q.· · And I'll represent to you, sir, that we
14· ·looked
     looked it up, and it showed, at least as of the last
15· ·time
     time we looked, you had around four million -- a
16· ·little
     little bit over four million followers.
17· · · · A.· · On me personally.
18· · · · Q.· · On you personally.
19· · · · A.· · Not Truth Social, on me.· I don't know.
20· ·That's
     That's possible.
21· · · · Q.· · Okay.· And like Twitter, people have the
22· ·ability
     ability to repost, or I think as you used the
23· ·expression
     expression in Truth Social, "retruth" posts that you
24· ·make
     make from your @realdonaldtrump account; correct?
25· · · · A.· · I think so, yes.· Yes, they do.


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                                                                           Page 127
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · And people have the opportunity to like
·3· ·or
     or heart one of your posts as well; correct?
·4· · · · A.· · Could be.
·5· · · · Q.· · Okay.· Now, on October 12, just a few
·6· ·days
     days ago, you issued a statement on Truth Social
·7· ·about
     about Ms. Carroll and this case; correct?
·8· · · · A.· · I believe so, yes.
·9· · · · Q.· · And the statement that you posted, who
10· ·wrote
     wrote that statement?
11· · · · A.· · I did.
12· · · · Q.· · You yourself?
13· · · · A.· · Yeah.
14· · · · Q.· · Did you post the statement yourself?
15· · · · A.· · Yes.
16· · · · Q.· · And in addition to posting the statement
17· ·on
     on Truth Social, you also sent it to the press?
18· · · · A.· · Yes.· It's called truth and post.· We
19· ·post
     post much like -- how would you say it?· We put out
20· ·a
     a statement, and we also put it on Truth.
21· · · · Q.· · And when you say you put it out --
22· · · · A.· · Like a public relations statement.
23· · · · Q.· · It goes, like, to an email list of
24· ·reporters?
     reporters?
25· · · · A.· · Yeah, whatever.· Yeah.· The bigger grab


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                                                                           Page 128
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·is
     is The Truth, but we also -- we call it posts.· We
·3· ·have
     have -- actually it's truth and post.· So we call it
·4· ·post.·
     post.· But the bigger -- the more important of the
·5· ·two
     two is The Truth because people are watching it.
·6· · · · Q.· · And in that sentence, you just used the
·7· ·word
     word "we."· Does someone help you --
·8· · · · A.· · Well, I'm talking about me.
·9· · · · Q.· · Okay.· But --
10· · · · A.· · But when I say "we," I'm talking about
11· ·perhaps
     perhaps Truth because Truth has, you know, people
12· ·working
     working for it, quite a few people.
13· · · · Q.· · Okay.· But you didn't personally send the
14· ·email
     email to the reporters yourself, did you?
15· · · · A.· · No.· What they do is they take it from
16· ·Truth,
     Truth, and then they'll put it out as a press
17· ·release.
     release.
18· · · · Q.· · And that's what I'm trying to ask, sir.
19· ·Who's
     Who's "they"?
20· · · · A.· · Different people that work in the
21· ·organization
     organization in Truth or -- some cases my office.
22· · · · Q.· · And with this statement, do you recall
23· ·whether
     whether it was people who worked for Truth Social or
24· ·your
     your office?
25· · · · A.· · I believe we put it out through my


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                                                                           Page 129
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·office.
     office.
·3· · · · Q.· · And who in your office would have been
·4· ·responsible
     responsible for doing that?
·5· · · · A.· · Possibly -- maybe Margo or maybe
·6· ·Chamberlain,
     Chamberlain, Chamberlain Harris.
·7· · · · Q.· · So Chamberlain Harris and -- I don't know
·8· ·Margo's
     Margo's last name.
·9· · · · A.· · One or two of the people in the office
10· ·would
     would have done it.
11· · · · Q.· · What's Margo's last name?
12· · · · A.· · Excuse me?
13· · · · Q.· · Do you know Margo's last name?
14· · · · A.· · Margo Martin.
15· · · · Q.· · Trying to interpret the last several
16· ·questions
     questions and answers
                   answers.
17· · · · · · · When you post something on Truth Social,
18· ·does
     does it always go to the press ultimately, or does
19· ·someone
     someone make that decision?
20· · · · A.· · Pretty automatic.
21· · · · Q.· · Okay.
22· · · · A.· · It goes to the press really directly on
23· ·Truth
     Truth too.· So most people have it before they get
24· ·the
     the Post.
25· · · · Q.· · And I take it when it goes to the


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                                                                           Page 130
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·reporters
     reporters by email, there's a designated group, and
·3· ·it
     it always goes to the same --
·4· · · · A.· · I don't know how they do that, but it
·5· ·goes
     goes to the press.
·6· · · · Q.· · Why did you decide to issue the statement
·7· ·on
     on Truth Social on October 12th?
·8· · · · A.· · Because I was offended at this woman's
·9· ·lie.·
     lie.· Because I was offended that she could just
10· ·make
     make up a story out of cold air, refuted by her
11· ·testimony
     testimony on CNN, but that she could make up a story
12· ·just
     just out of nowhere and that I get a phone call
13· ·asking
     asking me about this ridiculous situation.· The
14· ·woman
     woman -- there's something wrong with her in my
15· ·opinion.·
     opinion.· Okay.· But it's a false accusation.· Never
16· ·happened,
     happened, never would happen.· And I posted and I
17· ·will
     will continue to post until such time as -- and then
18· ·I
     I will sue her after this is over, and that's the
19· ·thing
     thing I really look forward to doing.· And I'll sue
20· ·you
     you too because this is -- how many cases do you
21· ·have?·
     have?· Many, many cases, and I know the statements
22· ·that
     that were made -- that you made.· Keep Trump busy
23· ·because
     because this is the way you defeat him, to keep him
24· ·busy
     busy with litigation.· So I will be suing you also,
25· ·but
     but I'll be suing her very strongly as soon as this


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                                                                           Page 131
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·case
     case ends.· But I'll be suing you also.
·3· · · · Q.· · Are you done?
·4· · · · A.· · Yeah.
·5· · · · Q.· · Is there anything in particular that
·6· ·prompted
     prompted you to make this statement last week?
·7· · · · A.· · Yeah.· Her false story and that I have to
·8· ·waste
     waste a whole day doing these ridiculous questions
·9· ·with
     with you.
10· · · · Q.· · Okay.
11· · · · · · · MS. KAPLAN:· Let's look at the statement.
12· · · · Let's mark it as -- what's my next number?
13· · · · · · · MR. MADAIO:· DJT 28.
14· · · · · · · (DJT Exhibit 28 was marked for
15· ·identification.)
     identification.)
16· · · · · · · THE WITNESS:· I can't read this.
17· · · · · · · MS. KAPLAN:· Well, we have a blown-up
18· · · · version.
19· ·BY
     BY MS. KAPLAN:
20· · · · Q.· · Let's mark it as 28 and 28A.
21· · · · · · · Oh, so you have a document that's got --
22· ·let
     let me back up.· I'm not following my own rules that
23· ·it's
     it's not a conversation.
24· · · · · · · So what we have in front of you as DJT
25· ·28,
     28, sir, is the post as it appeared on Truth Social


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                                                                           Page 132
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·on
     on October 12, 2022, and a blown-up version because
·3· ·we
     we appreciate that the type is very small.                A
·4· ·blown-up
     blown-up version that should be more legible.
·5· · · · A.· · I can see it, yeah.
·6· · · · Q.· · Would you like me to read it into the
·7· ·record?
     record?
·8· · · · A.· · Yeah, go ahead.· Sure.
·9· · · · Q.· · So it says:· "October 12, 2022, statement
10· ·by
     by Donald J. Trump, forty-fifth President of the
11· ·United
     United States of America.· This 'Ms. Bergdorf
12· ·Goodman
     Goodman case' is a complete con job, and our legal
13· ·system
     system in this country but especially in New York
14· ·State
     State (just look at Peekaboo James) is a broken
15· ·disgrace.·
     disgrace.· You have to fight for years and spend a
16· ·fortune
     fortune in order to get your reputation back from
17· ·liars,
     liars, cheaters, and hacks.· This decision is from
18· ·the
     the judge who was just overturned on my same case.
19· ·I
     I don't know this woman, have no idea who she is
20· ·other
     other than it seems she had a picture of me many
21· ·years
     years ago with her husband shaking my hand on a
22· ·reception
     reception line at a celebrity charity event.· She
23· ·completely
     completely made up a story that I met her at the
24· ·doors
     doors of this crowded New York City department store
25· ·and
     and within minutes 'swooned' her."· "Swooned" is in


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·quotes.
     quotes.
·3· · · · · · · "It is a hoax and a lie just like all the
·4· ·other
     other hoaxes that have been played on me for the
·5· ·past
     past seven years, and while I'm not supposed to say
·6· ·it,
     it, I will.· This woman is not my type!· She has no
·7· ·idea
     idea what day, what week, what month, what year, or
·8· ·what
     what decade this so-called 'event' supposedly took
·9· ·place.·
     place.· The reason she doesn't know is because it
10· ·never
     never happened, and she doesn't want to get caught
11· ·up
     up with details or facts that could be proven wrong.
12· ·If
     If you watch Anderson Cooper's interview with her
13· ·where
     where she was promoting a really crummy book, you
14· ·will
     will see that it is a complete scam.· She changed
15· ·her
     her story from beginning to end after the commercial
16· ·break
     break to suit the purposes of CNN and Andy Cooper.
17· ·Our
     Our justice system is broken along with almost
18· ·everything
     everything else in our country.· Her lawyer is a
19· ·political
     political operative and Cuomo crony who goes around
20· ·telling
     telling people that the way to beat Trump is to sue
21· ·him
     him all over the place.· She is suing me on numerous
22· ·frivolous
     frivolous cases just like this one, and the court
23· ·system
     system does nothing to stop it.
24· · · · · · · "In the meantime and for the record,
25· ·E.
     E. Jean Carroll is not telling the truth, is a woman


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                                                                           Page 134
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·I
     I had nothing to do with, didn't know, and would
·3· ·have
     have no interest in knowing her if I ever had the
·4· ·chance.·
     chance.· Now all I have to do is go through years
·5· ·more
     more of legal nonsense in order to clear my name of
·6· ·her
     her and her lawyer's phony attacks on me.· This can
·7· ·only
     only happen to 'Trump'!"
·8· · · · · · · Did I read that correctly?
·9· · · · A.· · Great statement, yeah.· True.· True.
10· · · · Q.· · And now that you've heard it again and
11· ·you
     you have it in front of you, you again confirm that
12· ·you
     you wrote the whole thing yourself?
13· · · · A.· · I wrote it all myself.· All myself.
14· · · · Q.· · Did you talk to anyone before you wrote
15· ·it?·
     it?· Did you talk to anyone about what to say in the
16· ·statement?
     statement?
17· · · · A.· · No.· I didn't need to.· I'm not Joe
18· ·Biden.
     Biden.
19· · · · Q.· · In this statement you say, I think, for
20· ·the
     the first time that it was a charity event, that
21· ·photo.·
     photo.· It was a charity event that --
22· · · · A.· · That was what I was told, yeah.· I was
23· ·told
     told it was a charity event.· Nobody knows which
24· ·event
     event it was, but it was like a charity event.
25· · · · Q.· · Do you know -- remember who told you


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·that?
     that?
·3· · · · A.· · No.
·4· · · · Q.· · Do you have any recollection --
·5· ·withdrawn.
     withdrawn.
·6· · · · · · · Did anyone tell you what charity it was
·7· ·for?
     for?
·8· · · · A.· · I don't know exactly.· I heard it was
·9· ·like
     like a celebrity charity event.· It was a large
10· ·gathering
     gathering of people but -- and I heard that was
11· ·actually
     actually a line, a celebrity line.· But maybe that's
12· ·wrong.
     wrong.
13· · · · Q.· · And if you turn -- well, you can look at
14· ·either
     either page.· There's a photo of Ms. Carroll beneath
15· ·your
     your statement; correct?
16· · · · A.· · Yes.
17· · · · Q.· · How did you get that photo?
18· · · · A.· · It was in one of the newspapers.· They
19· ·just
     just took it from the paper.· I think it was in one
20· ·of
     of the newspapers.
21· · · · Q.· · So you just copied and pasted it
22· ·yourself?
     yourself?
23· · · · A.· · Yeah.· I didn't paste it, no, but
24· ·somebody
     somebody cut it out.· They gave me a picture.· This
25· ·was
     was the picture she gave.· I think it's okay.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · So you wrote the statement and someone in
·3· ·your
     your office gave you the picture?
·4· · · · A.· · They pasted it.· They -- it's called
·5· ·pasting.·
     pasting.· You put it onto a statement.· This was a
·6· ·Save
     Save America statement, which is very interesting
·7· ·actually
     actually because it is saving America, stopping
·8· ·people
     people from doing things like this, trying to
·9· ·save
     save -- it's one big part of saving America.· No.
10· ·But
     But this was the photo that was given of her.
11· · · · Q.· · Okay.· Who gave you the photo?
12· · · · A.· · I don't know.· I don't know.
13· · · · Q.· · Was it someone in your office?
14· · · · A.· · I think it's stock.· I think it's a stock
15· ·photo.·
     photo.· It was taken from either a periodical or a
16· ·newspaper.
     newspaper.
17· · · · Q.· · Why did you include -- decide to include
18· ·this
     this photo in your post?
19· · · · A.· · I don't know.· They just gave me a photo.
20· ·I
     I don't know.· They just added it in.
21· · · · Q.· · So you weren't given a selection of
22· ·photos
     photos to --
23· · · · A.· · No.· No.· They just added it in.
24· · · · Q.· · Now, at the beginning of your post, the
25· ·reference
     reference "Ms. Bergdorf Goodman" is a reference to


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·Ms.
     Ms. Carroll; right?
·3· · · · A.· · That's right.
·4· · · · Q.· · And at the deposition in another case
·5· ·where
     where I was here, you referred to, as I recall,
·6· ·Ms.
     Ms. Carroll as Madam Bergdorf Goodman.· Same idea;
·7· ·right?
     right?
·8· · · · A.· · Same concept, yeah.
·9· · · · Q.· · Now, when you say in here I don't know
10· ·this
     this woman and have no idea who she is, even though
11· ·you're
     you're using the present tense, you're referring
12· ·back
     back to your knowledge as of when she first made the
13· ·allegation
     allegation --
14· · · · A.· · I still don't know this woman.· I think
15· ·she's
     she's a wack job.· I have no idea.· I don't know
16· ·anything
     anything about this woman other than what I read in
17· ·stories
     stories and what I hear.· I know nothing about her.
18· · · · Q.· · Okay.· Well, I guess the distinction I'm
19· ·trying
     trying to make, sir, is that when the allegation
20· ·came
     came out in 2019, you said you -- I think it's your
21· ·testimony
     testimony that you had no idea who she was.
22· · · · A.· · I still don't.
23· · · · Q.· · Well, today you at least know that she's
24· ·a
     a plaintiff in a case suing you; correct?
25· · · · A.· · Oh, yes.· That, I know, but I know


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·nothing
     nothing about her.· I think she's sick, mentally
·3· ·sick.
     sick.
·4· · · · Q.· · Okay.· You say in this post -- you use a
·5· ·strange
     strange word, which I want to ask you about.· You
·6· ·say
     say she completely made up a story that I met her at
·7· ·the
     the doors of this crowded New York City department
·8· ·store
     store and within minutes swooned her.· Do you see
·9· ·that?
     that?
10· · · · A.· · Yeah.
11· · · · Q.· · What does "swooned her" mean?
12· · · · A.· · That would be a word, maybe accurate or
13· ·not,
     not, having do with talking to her and talking
14· ·her
     her -- to do an act that she said happened, which
15· ·didn't
     didn't happen.· And it's a nicer word than the word
16· ·that
     that starts with an F, and this would be a word that
17· ·I
     I used because I thought it would be inappropriate
18· ·to
     to use the other word.· And it didn't happen.
19· · · · Q.· · Okay.· I was curious when I read this.
20· ·So
     So I looked up the word "swoon" in the dictionary,
21· ·and
     and under the dictionary, it means "to faint with
22· ·extreme
     extreme emotion."· That's not what you meant here?
23· · · · · · · MS. HABBA:· Objection to the form.
24· · · · · · · THE WITNESS:· Well, sort of that's what
25· · · · she said I did to her.· She fainted with great


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · emotion.· She actually indicated that she loved
·3· · · · it.· Okay?· She loved it until commercial
·4· · · · break.· In fact, I think she said it was sexy,
·5· · · · didn't she?· She said it was very sexy to be
·6· · · · raped.· Didn't she say that?
·7· ·BY
     BY MS. KAPLAN:
·8· · · · Q.· · So, sir, I just want to confirm:· It's
·9· ·your
     your testimony that E. Jean Carroll said that she
10· ·loved
     loved being sexually assaulted by you?
11· · · · A.· · Well, based on her interview with
12· ·Anderson
     Anderson Cooper, I believe that's what took place.
13· ·And
     And we can define that.· You'll have to show that.
14· ·I'm
     I'm sure you're going to show that.· But she was
15· ·interviewed
     interviewed by Anderson Cooper, and I think she said
16· ·that
     that rape was sexy -- which it's not, by the way.
17· ·But
     But I think she said that rape was sexy, and it
18· ·was
     was -- she actually said things that were very
19· ·strange,
     strange, and then she was a different person after
20· ·the
     the -- when he said "We'll take a break right now.
21· ·We're
     We're going to take a break right now," he didn't
22· ·like
     like what she was saying.· He was very upset with
23· ·what
     what -- and then she came back, and she was a much
24· ·different
     different woman in the second half, so to speak.
25· · · · Q.· · So, again, just so the testimony is


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·clear,
     clear, because you tend to give long answers.· Is it
·3· ·your
     your testimony, sir, that on Anderson Cooper she --
·4· ·I
     I just lost it.· She indicated on the
·5· ·Anderson
     Anderson -- "she" being E. Jean Carroll -- indicated
·6· ·on
     on the Anderson Cooper show that she loved it?
·7· · · · A.· · If you see the front part of her
·8· ·interview,
     interview, the first part of her interview, before
·9· ·Anderson
     Anderson -- in a panic because she wasn't saying the
10· ·right
     right thing for him and for CNN -- it was very
11· ·hostile.·
     hostile.· In a panic he said we're going to station
12· ·break.·
     break.· I think he said it twice.· He wanted her to
13· ·stop.·
     stop.· He wanted her to stop talking.· If you watch
14· ·that
     that interview -- yeah.· She said a lot of things in
15· ·that
     that interview, things that make her into a total
16· ·liar.
     liar.
17· · · · Q.· · And so the question I'm asking you is did
18· ·she
     she say in that interview that she loved being
19· ·sexually
     sexually assaulted by you?
20· · · · A.· · Well, she said something to that effect.
21· ·I
     I mean, you'll have to take a look at the interview
22· ·yourself.·
     yourself.· I believe she said rape was sexy, to
23· ·which
     which Anderson Cooper is dying.· He's saying let's
24· ·get
     get to a commercial break immediately.· I think you
25· ·better
     better watch the interview.· I'm sure you have, but


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·you
     you better watch the interview.
·3· · · · Q.· · In the interview when Ms. Carroll talked
·4· ·about
     about rape being sexy, isn't it true that she said
·5· ·that's
     that's a view that many other people hold?
·6· · · · A.· · Oh, I don't know.· I mean, I don't know.
·7· ·All
     All I know is I believe she said rape is sexy or
·8· ·something
     something to that effect, but you'll have to watch
·9· ·the
     the interview.· It's been awhile.
10· · · · Q.· · And just to clarify, I think you said a
11· ·few
     few minutes earlier that you used the word "swooned"
12· ·as
     as a synonym for -- you said the F word -- for
13· ·sexual
     sexual intercourse?
14· · · · A.· · Yeah.· That's because that's what she
15· ·said.
     said.
16· · · · Q.· · What do you mean?· She never used the
17· ·word
     word "swooned."
18· · · · A.· · No.· She said that I did something to her
19· ·that
     that never took place.· There was no anything.                  I
20· ·know
     know nothing about this nut job.
21· · · · Q.· · Okay.· Then you go on to say in the
22· ·statement:·
     statement:· "And while I am not supposed to say it,
23· ·I
     I will."· Why were you not supposed to say it?
24· · · · A.· · Because it's not politically correct to
25· ·say
     say -- read the next.· Go ahead.· That she's not my


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·type?·
     type?· Yeah.· Because it's not politically correct
·3· ·to
     to say it, and I know that, but I'll say it anyway.
·4· ·She's
     She's accusing me of rape, a woman that I have no
·5· ·idea
     idea who she is.· It came out of the blue.· She's
·6· ·accusing
     accusing me of rape -- of raping her, the worst
·7· ·thing
     thing you can do, the worst charge.
·8· · · · · · · And you know it's not true too.· You're a
·9· ·political
     political operative also.· You're a disgrace.· But
10· ·she's
     she's accusing me and so are you of rape, and it
11· ·never
     never took place.· And I will tell you I made that
12· ·statement,
     statement, and I said, while it's politically
13· ·incorrect,
     incorrect, she's not my type.· And that's
14· ·100
     100 percent true.· She's not my type.
15· · · · Q.· · And when you say "not my type," you want
16· ·people
     people -- your intention of saying -- withdrawn.
17· · · · · · · The point of saying she's not my type is
18· ·to
     to persuade people that you didn't rape her because
19· ·she
     she wasn't attractive enough; correct?
20· · · · · · · MR. MADAIO:· Object to the form.
21· · · · · · · MS. HABBA:· Objection to the form.
22· · · · · · · THE WITNESS:· When I say she's not my
23· · · · type, I say she is not a woman I would ever be
24· · · · attracted to.· There is no reason for me to be
25· · · · attracted to her.· I just -- it's not even


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · meant to be an insult.· There's no way I would
·3· · · · ever be attracted to her.· Now, some people
·4· · · · would be attracted to her perhaps.· I would
·5· · · · never be attracted to her.
·6· · · · · · · So in addition to the fact that it never
·7· · · · happened, never could happen -- so I say it's
·8· · · · politically incorrect to say essentially she's
·9· · · · not my type on top of everything else.
10· ·BY
     BY MS. KAPLAN:
11· · · · Q.· · So you also have a reference -- you
12· ·have
     have -- withdrawn.
13· · · · · · · At the top of the thing, you say Peekaboo
14· ·James?
     James?
15· · · · A.· · Yes.
16· · · · Q.· · I assume that's the New York attorney
17· ·general,
     general, Letitia James?
18· · · · A.· · Or New York State attorney general.
19· · · · Q.· · Yes.
20· · · · A.· · You know, your friend Cuomo knows her.
21· · · · Q.· · And then you talk --
22· · · · A.· · You should ask Andrew.· If you want a
23· ·definition,
     definition, ask Andrew about her.· I think
24· ·you've
     you've been through a lot.
25· · · · Q.· · And then you talk about the judge, and


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·you
     you talk about the justice system being broken;
·3· ·correct?
     correct?
·4· · · · A.· · Yeah.· The system in our country is
·5· ·broken,
     broken, and the system in New York City is broken,
·6· ·in
     in New York and New York State.· It's a broken
·7· ·system.
     system.
·8· · · · Q.· · And isn't the reason, sir, that you
·9· ·issued
     issued this statement in the evening of October 12th
10· ·because
     because the judge in this case denied your motion to
11· ·stay
     stay discovery that day?
12· · · · A.· · I have no idea.· It could be.· I mean, it
13· ·could
     could be a factor, but, no, I just issued this
14· ·because
     because I knew it was coming up.· I knew that we'd
15· ·be
     be wasting a day doing this, a whole day doing this.
16· ·I
     I don't know how you do it.· You've got to be
17· ·connected
     connected to get this kind of a time.· But a whole
18· ·day
     day doing this stuff on something that never
19· ·happened.
     happened.
20· · · · Q.· · So is it your testimony that it's just a
21· ·coincidence
     coincidence that you issued this on the same day
22· ·that
     that Judge Kaplan denied the stay?
23· · · · A.· · I don't know what day he issued it, but
24· ·he
     he issued something that was, I guess, somewhat
25· ·negative.·
     negative.· No.· He's not a fan of mine obviously,


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·but
     but he was overturned, I understand.· And it's the
·3· ·same
     same judge.· As I understand it, he was overturned,
·4· ·and
     and it's the same judge.
·5· · · · Q.· · Yeah, you reference that in the
·6· ·statement;
     statement; correct?
·7· · · · A.· · Yeah.· That's what I hear.· My lawyers
·8· ·tell
     tell me that.· Maybe it's right; maybe not.
·9· · · · Q.· · Is it your understanding that as a result
10· ·of
     of the denial of the motion for stay that this
11· ·deposition
     deposition that you've been complaining about a lot
12· ·was
     was going to happen; correct?
13· · · · · · · MS. HABBA:· Objection.
14· · · · · · · MR. MADAIO:· Objection.
15· · · · · · · THE WITNESS:· I really don't know what it
16· · · · represented actually.· I just know that we had
17· · · · something which was a loss and -- but I don't
18· · · · think that had anything to do with the
19· · · · statement itself much.
20· · · · · · · THE VIDEOGRAPHER:· Off the record at
21· · · · 1:55.
22· · · · · · · (A brief recess was taken.)
23· · · · · · · THE VIDEOGRAPHER:· On the record at 2:20
24· · · · p.m.
25


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                                                                           Page 146
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·BY
     BY MS. KAPLAN:
·3· · · · Q.· · So just before the break, we were talking
·4· ·about
     about the decision by the judge in this case to deny
·5· ·the
     the motion to stay discovery, and I think you
·6· ·testified
     testified -- gave some testimony about your general
·7· ·view
     view -- correct me if I'm wrong -- is that this case
·8· ·is
     is a waste of time and ridiculous.· I think you just
·9· ·said
     said that even off the record.
10· · · · · · · Sir, are you aware that in a letter to
11· ·Judge
     Judge Kaplan back in May, the parties said to him
12· ·that
     that it was your side -- it was defendant
13· ·proposed
     proposed -- who proposed that the parties resume
14· ·discovery
     discovery in this case back in May?
15· · · · A.· · I don't know what my lawyers have done.
16· · · · Q.· · Now, in your Truth Social statement on
17· ·October
     October 12, you use the word "hoax."· Specifically
18· ·you
     you say:· "It is a hoax and a lie just like all of
19· ·the
     the other hoaxes that have been played on me for the
20· ·past
     past seven years."· Do you see that --
21· · · · A.· · Yeah.
22· · · · Q.· · -- or recall making that statement?
23· · · · · · · And I take it what you're saying there is
24· ·Ms.
     Ms. Carroll fabricated her claim that you sexually
25· ·assaulted
     assaulted her; correct?


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Yes.· Totally.· 100 percent.
·3· · · · Q.· · Fair to say -- you'd agree with me, would
·4· ·you
     you not, that you use the term "hoax" quite a lot?
·5· · · · A.· · Yes, I do.
·6· · · · Q.· · CNN reported that you used it more than
·7· ·250
     250 times in 2020.· Does that sound right?
·8· · · · A.· · Could be.· I've had a lot of hoaxes
·9· ·played
     played on me.· This is one of them
                                   them.
10· · · · Q.· · And how would you define the word "hoax"?
11· · · · A.· · A fake story, a false story, a made-up
12· ·story.
     story.
13· · · · Q.· · Something that's not true?
14· · · · A.· · Something that's not true, yes.
15· · · · Q.· · Sitting here today, can you recall what
16· ·else
     else you have referred to as a hoax?
17· · · · A.· · Sure.
18· · · · · · · MR. MADAIO:· Object to the form.
19· · · · · · · You can answer.
20· · · · · · · THE WITNESS:· The Russia Russia Russia
21· · · · hoax.· It's been proven to be a hoax.· Ukraine
22· · · · Ukraine Ukraine hoax.· The Mueller situation
23· · · · for two and a half years hoax ended in no
24· · · · collusion.· It was a whole big hoax.· The lying
25· · · · to the FISA court hoax, the lying to Congress


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · many times hoax by all these people, the scum
·3· · · · that we have in our country, lying to Congress
·4· · · · hoax, the spying on my campaign hoax.· They
·5· · · · spied on my campaign, and now they admit it.
·6· · · · That was another hoax, and I could get a whole
·7· · · · list of them.· And this is a hoax too.
·8· ·BY
     BY MS. KAPLAN:
·9· · · · Q.· · This -- when you say "this" and "that" --
10· · · · A.· · This ridiculous situation that we're
11· ·doing
     doing right now.· It's a big, fat hoax.· She's a
12· ·liar
     liar and she's a sick person in my opinion.· Really
13· ·sick.·
     sick.· Something wrong with her.
14· · · · Q.· · Okay.· In addition to the Russia Russia
15· ·Russia
     Russia hoax, the Ukraine Ukraine Ukraine hoax, the
16· ·Mueller
     Mueller or Mueller hoax, the lying to FISA hoax, the
17· ·lying
     lying to Congress hoax, and the spying on your
18· ·campaign
     campaign hoax, isn't it true that you also referred
19· ·to
     to the use of mail-in ballots as a hoax?
20· · · · A.· · Yeah, I do.· Sure.
21· · · · · · · MS. HABBA:· Objection.
22· · · · · · · THE WITNESS:· I do.· I think they're very
23· · · · dishonest.· Mail-in ballots, very dishonest.
24· ·BY
     BY MS. KAPLAN:
25· · · · Q.· · And isn't it true that you yourself have


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·voted
     voted by mail?
·3· · · · · · · MS. HABBA:· Objection.
·4· · · · · · · THE WITNESS:· I do.· I do.· Sometimes I
·5· · · · do.· But I don't know what happens to it once
·6· · · · you give it.· I have no idea.
·7· ·BY
     BY MS. KAPLAN:
·8· · · · Q.· · Do you remember there was a story
·9· ·published
     published in the Atlantic in September 2020 that
10· ·reported
     reported that you had disparaged Americans who had
11· ·died
     died in war?
12· · · · A.· · That was a hoax.
13· · · · Q.· · That story was a hoax too?
14· · · · A.· · Oh, that's a hoax.· That was one of the
15· ·worst
     worst of all.· That was a total hoax.
16· · · · Q.· · And so are you -- is it your testimony
17· ·today
     today that you did not say why should I go to that
18· ·cemetery?·
     cemetery?· It's filled with losers?
19· · · · · · · MS. HABBA:· Objection.
20· · · · · · · THE WITNESS:· Not only did I not say
21· · · · that, I had people that said I didn't say it.
22· · · · It was a made-up hoax by a failed magazine.
23· ·BY
     BY MS. KAPLAN:
24· · · · Q.· · And that's the Atlantic?
25· · · · A.· · I don't know.· Whichever one.· I think it


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·was
     was the Atlantic.
·3· · · · Q.· · And isn't it true, sir, that you also
·4· ·have
     have referred to global warning as a hoax?
·5· · · · A.· · Yeah.· I think it's largely a hoax, yes.
·6· · · · Q.· · When you say "largely a hoax," what do
·7· ·you
     you mean?
·8· · · · A.· · Well, I think the whole environmental
·9· ·thing
     thing is destroying our country in so many different
10· ·ways.·
     ways.· I think they've weaponized the environment,
11· ·yeah.·
     yeah.· A lot of what they do is a hoax, yes.
12· ·Absolutely.
     Absolutely.
13· · · · Q.· · Okay.· But just so the record is clear,
14· ·do
     do you think the scientific consensus that the
15· ·temperatures
     temperatures on planet Earth have been getting
16· ·warmer
     warmer and are continuing to get warmer is a hoax?
17· · · · · · · MR. MADAIO:· Objection.
18· · · · · · · THE WITNESS:· I think they go both ways,
19· · · · but I think it has nothing do with this case.
20· · · · I mean, why are you asking -- other than you're
21· · · · a political person, why are you asking this
22· · · · question?· What does that have to do with this
23· · · · case?
24· ·BY
     BY MS. KAPLAN:
25· · · · Q.· · Sir, again, I get to --


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Yeah, I know.· I know --
·3· · · · Q.· · -- ask the question --
·4· · · · A.· · But I don't think you should be allowed
·5· ·to
     to ask that question.· That has nothing to do with
·6· ·this
     this case.
·7· · · · Q.· · Isn't it true --
·8· · · · · · · MS. KAPLAN:· Let's mark these as the
·9· · · · next.
10· · · · · · · THE WITNESS:· How long do you take
11· · · · between questions.· Is that done on purpose?
12· · · · Yes.· You shouldn't let this happen.
13· · · · · · · MS. HABBA:· We put objections on the
14· · · · record.
15· ·BY
     BY MS. KAPLAN:
16· · · · Q.· · I don't need to answer this, but it is
17· ·important.·
     important.· I'm sure your attorney will tell you
18· ·that
     that the record be clean, and we're making sure that
19· ·the
     the documents and the questions --
20· · · · A.· · Oh, oh.
21· · · · Q.· · -- produce a clean record
                                   record.
22· · · · · · · MS. KAPLAN:· And we're doing -- this one
23· · · · is 30?
24· · · · · · · (DJT Exhibit 29 was marked for
25· ·identification.)
     identification.)


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · (DJT Exhibit 30 was marked for
·3· ·identification.)
     identification.)
·4· ·BY
     BY MS. KAPLAN:
·5· · · · Q.· · I'm going to hand you two documents.· 29
·6· ·is
     is a tweet that you posted on Twitter on December 6,
·7· ·2013?
     2013?
·8· · · · A.· · I don't know when it was posted.
·9· ·Whatever
     Whatever it says is okay with me.
10· · · · Q.· · And you said that -- in that tweet you
11· ·say:·
     say:· "The expensive hoax that is global warming"?
12· · · · A.· · Yeah.· They've weaponized the
13· ·environment,
     environment, much to the destruction of our country.
14· · · · Q.· · And if you look at DJT 30, a little bit
15· ·later
     later that month, you said something similar, which
16· ·is:·
     is:· "We should be focused on a clean" -- let me get
17· ·it
     it right.· Withdrawn.
18· · · · · · · "We should be focused on clean and
19· ·beautiful
     beautiful air - not expensive and business
20· ·closing"
     closing" -- all caps -- "global warming - a total
21· ·hoax!"
     hoax!"
22· · · · A.· · Yeah.· They don't call it global warming
23· ·anymore.·
     anymore.· You know why?· Because it wasn't working.
24· ·Now
     Now it's called climate change.
25· · · · Q.· · Now, the same night that you posted on


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·Truth
     Truth Social the posts that's been marked as DJT 28,
·3· ·you
     you also posted a video; correct?
·4· · · · A.· · I don't know.· Maybe.· I hope.
·5· · · · · · · MS. KAPLAN:· So let's mark as the next
·6· · · · tab a video.· We'll mark it as DJT 31, which is
·7· · · · a video from Truth Social posted by
·8· · · · @realdonaldtrump on October 12, 2022.
·9· · · · · · · (DJT Exhibit 31 was marked for
10· · · · identification.)
11· · · · · · · MS. KAPLAN:· And I'm going to -- again, I
12· · · · apologize.· I'm going to get up and look at it
13· · · · because of the technological problems we've
14· · · · been having.
15· · · · · · · (Video played.)
16· · · · · · · MR. MADAIO:· Just wanted to put on the
17· · · · record that the first about ten seconds or so
18· · · · was very choppy on our end here.· It was very
19· · · · difficult to see.
20· ·BY
     BY MS. KAPLAN:
21· · · · Q.· · So it's my understanding that there's
22· ·some
     some choppiness from probably the rain outside and
23· ·the
     the Internet connection.· There's also some
24· ·choppiness
     choppiness that's deliberately in the video, and we
25· ·will
     will give the court reporter the video.· But there


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·is
     is some deliberate pausing in that where it looks
·3· ·like
     like there's colors and bar graphs.· That's
·4· ·deliberately
     deliberately on the video.· That's not coming --
·5· · · · · · · MR. MADAIO:· No.· I think just about the
·6· · · · first ten seconds or so it was skipping.
·7· · · · · · · MS. HABBA:· We don't need to see it
·8· · · · again.
·9· · · · · · · THE WITNESS:· Okay.· Go ahead.
10· ·BY
     BY MS. KAPLAN:
11· · · · Q.· · So you don't deny that you posted that
12· ·video
     video on Truth Social, sir?
13· · · · A.· · No, not at all.
14· · · · Q.· · And whose idea was it to --
15· · · · A.· · Mine.
16· · · · Q.· · -- create that video?· Yours?
17· · · · · · · Who was the involved in the creation of
18· ·that
     that video?
19· · · · · · · MR. MADAIO:· Objection.
20· · · · · · · You can answer.
21· · · · · · · THE WITNESS:· Done in house.
22· · · · · · · MS. KAPLAN:· What's your objection, sir?
23· · · · · · · MR. MADAIO:· It's an objection based on
24· · · · relevance.
25· · · · · · · MS. KAPLAN:· There's no relevance


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · objections at depositions.
·3· · · · · · · MR. MADAIO:· Well, to the form of the
·4· · · · question.
·5· ·BY MS. KAPLAN:
·6· · · · Q.· · Who was involved in creating that video?
·7· · · · A.· · Well, it wasn't much of a creation.· We
·8· ·took
     took most of it right off of that stupid Anderson
·9· ·Cooper's
     Cooper's bad ratings show.
10· · · · Q.· · When you say "we" --
11· · · · A.· · "We," yeah.· The group that did it.
12· ·Whoever
     Whoever did it.· I could get you a name of somebody
13· ·that
     that actually did it if you'd like.· Would you like
14· ·that?
     that?
15· · · · Q.· · Well, sitting here today --
16· · · · A.· · I don't know.
17· · · · Q.· · You don't remember --
18· · · · A.· · No, I have no idea.· I mean, we have
19· ·people
     people that do that.· I could find out who did it.
20· · · · Q.· · We would request that information --
21· · · · A.· · Oh, sure.
22· · · · Q.· · Who instructed that it be done?
23· · · · A.· · Me.
24· · · · Q.· · Okay.· And you have someone working for
25· ·you
     you that it could be done?


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Yeah.· Sure.
·3· · · · Q.· · Okay.· What entity did that person work
·4· ·for?
     for?
·5· · · · A.· · I have to check that out.
·6· · · · Q.· · Okay.· I take it from your prior
·7· ·testimony
     testimony that you yourself aren't capable of
·8· ·creating
     creating a video like that?
·9· · · · A.· · No, I don't do that.· I would like to,
10· ·but
     but I don't do that.
11· · · · Q.· · And do you know, sitting here today, who
12· ·came
     came up with the text that appeared on the screen in
13· ·that
     that video?
14· · · · A.· · I really don't know.
15· · · · Q.· · And do you know who made the cuts that
16· ·are
     are shown from the Anderson Cooper interview?
17· · · · A.· · No, I don't.· We could play the whole
18· ·thing,
     thing, but I guess they were trying to save time
19· ·because,
     because, you know, the interview takes five, ten
20· ·minutes.·
     minutes.· So I guess they're trying to save time.
21· ·So
     So you have to do some cuts.· Otherwise you can't do
22· ·a
     a five-minute commercial.
23· · · · Q.· · So is it your testimony, sir, that the
24· ·only
     only reason those cuts were made the way they were
25· ·is
     is to save time?


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Well, one of the things.· I like people
·3· ·to
     to watch the whole interview.· Actually I felt the
·4· ·whole
     whole interview was much better than that
·5· ·commercial,
     commercial, than that piece we did.· But you can't
·6· ·fit
     fit the whole interview because it was, I think,
·7· ·seven
     seven minutes or something like that, and there's
·8· ·never
     never been a seven-minute commercial.· So it's very
·9· ·standard
     standard to do that.
10· · · · Q.· · Before that video was posted on
11· ·Truth
     Truth Social, did you approve it as it was -- did
12· ·you
     you approve it?
13· · · · A.· · Yeah, I approved it.
14· · · · Q.· · Okay.· And --
15· · · · A.· · And I would like the whole show better,
16· ·but
     but you can't do the whole show because it's too
17· ·long.·
     long.· So they take snippets, which is very
18· ·standard.
     standard.
19· · · · Q.· · And again, your understanding is the only
20· ·reason
     reason they take the snippets they do is because --
21· ·to
     to cut it down for length?
22· · · · A.· · Well, you can't -- I mean, I'd much
23· ·rather
     rather have the whole show.· In court, if we ever go
24· ·there
     there -- because this case is a disgrace that should
25· ·be
     be not even allowed to happen.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · But in court, they'll watch the whole
·3· ·show.·
     show.· They're not going to watch snippets.
·4· · · · Q.· · Have you ever kissed a woman without her
·5· ·consent?
     consent?
·6· · · · A.· · Well, I don't -- I can't think of any
·7· ·complaints.·
     complaints.· But no.· I mean, I don't think so.
·8· · · · · · · I think it's an inappropriate question,
·9· ·but
     but I don't think so.
10· · · · Q.· · Have you ever touched a woman on her
11· ·breast
     breast or her buttocks or any other sexual part
12· ·without
     without her consent?
13· · · · · · · MS. HABBA:· Objection to form.
14· · · · · · · THE WITNESS:· Well, I will tell you no,
15· · · · but you may have some people like your client
16· · · · that lie.
17· ·BY     KAPLAN:
     BY MS. KAPLAN
18· · · · Q.· · Have you ever pressured a woman to engage
19· ·in
     in sex with you?
20· · · · A.· · The answer is no.· But you may have some
21· ·people
     people like your client who are willing to lie.
22· · · · Q.· · Do you know what "sexual harassment"
23· ·means?
     means?
24· · · · A.· · Yeah, pretty much.
25· · · · Q.· · Does it accord with your understanding


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